    Case: 1:21-cv-02232 Document #: 13 Filed: 09/03/21 Page 1 of 2 PageID #:133




                              UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF ILLINOIS
                                    EASTERN DIVISION

 JACQUELINE STEVENS,                              )
                                                  )
                                 Plaintiff,       )
                                                  )
                        v.                        )
                                                  )
 U.S. IMMIGRATION AND CUSTOMS                     )
 ENFORCEMENT, U.S. CUSTOMS AND                    )    No. 21 C 2232
 BORDER PROTECTION, U.S.                          )
 CITIZENSHIP AND IMMIGRATION                      )    Judge Tharp
 SERVICES, EXECUTIVE OFFICE OF                    )
 IMMIGRATION REVIEW, U.S. NAVY,                   )
 U.S. DEPARTMENT OF AGRICULTURE,                  )
 U.S. DEPARTMENT OF STATE, and U.S.               )
 DEPARTMENT OF JUSTICE,                           )
                                                  )
                                 Defendants.      )

                                     JOINT STATUS REPORT

        At the court’s direction (Dkt. 12), the parties in this Freedom of Information Act case

jointly submit this status report:

        1.      This case arises out of FOIA requests that plaintiff Jacqueline Stevens submitted to

seven federal agencies: U.S. Immigration and Customs Enforcement (ICE), U.S. Customs and

Border Protection (CBP), U.S. Citizenship and Immigration Services (USCIS), U.S. Department

of Justice’s Executive Office of Immigration Review (EOIR), U.S. Navy, U.S. Department of

Agriculture (USDA), and U.S. Department of State.

        2.      Defendants report that six of the seven agencies have completed their searches for

records responsive to plaintiff’s FOIA requests: USCIS has produced 623 pages of records, EOIR

has produced 8 .csv files and 9 “Look-up Tables,” the State Department has located approximately
    Case: 1:21-cv-02232 Document #: 13 Filed: 09/03/21 Page 2 of 2 PageID #:134




15 responsive records and expects to produce them by September 10, 2021, and CBP, Navy, and

USDA have no responsive records.

       3.      Defendants report that the remaining agency, ICE, has completed its search for

records responsive to three of plaintiff’s four FOIA requests to ICE but is still searching for records

responsive to the fourth request.

       4.      The parties propose that they file a joint status report in 60 days updating the court

on the status of the remaining ICE search.

                                               Respectfully submitted,

                                               JOHN R. LAUSCH, Jr.
                                               United States Attorney

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